         Case 3:21-cv-00198-SM-RLB            Document 217        03/03/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS,                                                         CIVIL ACTION
    Plaintiff

VERSUS                                                                NO. 21-198-SM-RLB

LOUISIANA STATE UNIVERSITY
BOARD OF SUPERVISORS, ET AL
     Defendants

                             MOTION TO LEAVE TO FILE
                         SECOND AMENDED COMPLAINT AND
                       FIRST AMENDED RICO CASE STATEMENT

       NOW INTO COURT, comes Plaintiff Sharon Lewis, through undersigned counsel, files

this motion for leave, respectfully requesting that this court grant her leave to file Second

Amended Complaint and First Amended RICO Case Statement attached herein. The reason for

this motion are set forth in the Memorandum of Support filed contemporaneously.

                                                 1.

       This Motion To Leave is in response to the Court’s Order and Reason issued on

December 2, 2021(Doc. No. 165).

       WHEREFORE PREMISES CONSIDERED, Plaintiff Sharon Lewis pray that this court

grant the foregoing Motion granting her Motion To Leave to file Second Amended Complaint and

First Amened RICO Case Statement.

                                                      Respectfully submitted:

                                                      /s/ Larry English
                                                      Larry English, LSB No. 22772
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        Case 3:21-cv-00198-SM-RLB          Document 217       03/03/22 Page 2 of 2




                                                   /s/ Albert Van-Lare
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                                    Counsels for Plaintiff Sharon Lewis

                              CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing was served on all counsel of record

using the Court’s CM/ECF system on March 3, 2022.


                                                   /s/ Larry English




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